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     Federal Defender
2    JEROME PRICE, #282400
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     LESLIE A. LOHSE
6
7
                                      UNITED STATES DISTRICT COURT
8
                                     EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                        )    Case No. 2:17-cr-006 MCE
                                                      )
11                    Plaintiff,                      )    STIPULATION AND [PROPOSED] ORDER
                                                      )    TO TERMINATE PRE-TRIAL
12           v.                                       )    SUPERVISION
                                                      )
13   LESLIE A. LOHSE,                                 )    Hon. Edmund F. Brennan
                                                      )
14                    Defendant.                      )
                                                      )
15                                                    )
16
             IT IS HEREBY STIPULATED between plaintiff, United States of America, and
17
     Defendant Leslie A. Lohse, through their respective attorneys, that Ms. Lohse’s pre-trial
18
     supervision should be terminated and that she should remain out of custody on the presently set
19
     $150,000 unsecured appearance bond. As a condition of her pretrial release, Ms. Loshe shall
20
     comply with all federal, state, and local laws. This stipulation was approved by Pretrial Services
21
     Officer Renee Basurto.
22
             On January 19, 2017, the Court ordered Ms. Lohse released on conditions of pre-trial
23
     supervision and a $150,000 unsecured appearance bond. (ECF Nos. 18 and 20.) Ms. Lohse has
24
     remained on pre-trial supervision since that time without incident. Based on the foregoing, the
25
     parties stipulate that Ms. Lohse’s pre-trial supervision should be terminated, she be ordered
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     released on the presently set $150,000 unsecured appearance bond, and that condition number
27
     six, governing her passport, should remain in effect.
28

      Stipulation to Terminate Pretrial Supervision       -1-
       Case 2:17-cr-00006-JAM Document 62 Filed 06/08/18 Page 2 of 3


1
     DATED: June 7, 2018                              HEATHER E. WILLIAMS
2
                                                      Federal Defender
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4                                                     /s/ Jerome Price
                                                      JEROME PRICE
5                                                     Assistant Federal Defender
                                                      Attorneys for LESLIE A. LOHSE
6
     DATED: June 7, 2018                              MCGREGOR W. SCOTT
7
                                                      United States Attorney
8
                                                      /s/ Matthew Yelovich
9                                                     MATTHEW YELOVICH
                                                      Assistant United States Attorney
10                                                    Attorney for Plaintiff
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      Stipulation to Terminate Pretrial Supervision     -2-
       Case 2:17-cr-00006-JAM Document 62 Filed 06/08/18 Page 3 of 3


1                                                     ORDER
2
3            The Court, having read and considered the parties’ stipulation, that Leslie A. Lohse’s pre-

4    trial supervision be terminated, hereby orders that she be remain released on the presently set

5    $150,000 unsecured appearance bond, and that condition number six of her conditions of pre-

6    trial release, concerning her passport, shall remain in effect. As a condition of her pretrial

7    release, Ms. Lohse shall comply with all federal, state, and local laws.

8
     IT IS SO ORDERED.
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10
     Dated: June 7, 2018                                     ________________________________
11                                                           HON. EDMUND F. BRENNAN
12                                                           United States Magistrate Judge

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      Stipulation to Terminate Pretrial Supervision    -3-
